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                                                                         1
                                                                                                             UNITED STATES DISTRICT COURT
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                                                                                                          NORTHERN DISTRICT OF CALIFORNIA
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                                                                         4
                                                                              UNITED STATES OF AMERICA,                    )
                                                                         5                    Plaintiff,                   )       Case No. CR 05-0671-01 WHA
                                                                                                                           )
                                                                         6    vs                                           )
                                                                                                                           )
                                                                         7    JOSE FRANCISCO LEYVA,                        )       ORDER FOR
                                                                                              Defendant.                   )       VOLUNTARY SURRENDER
                                                                         8                                                 )
                                                                         9
                                                                         10           Defendant has requested permission to report voluntarily, at defendant's own expense, to the
                                                                              federal institution designated by the Bureau of Prisons for service of defendant's sentence:
                                                                         11
United States District Court




                                                                                     IT IS HEREBY ORDERED THAT:
                               For the Northern District of California




                                                                         12
                                                                                     (1)    A stay of execution of defendant's sentence is GRANTED on the conditions set forth
                                                                         13   below, and during the period of the stay, Defendant shall remain at large on Defendant's present
                                                                              cognizance.
                                                                         14
                                                                                     (2)     Defendant shall immediately report to the United States Marshal's Office, Room
                                                                         15   20006, 450 Golden Gate Avenue, San Francisco, for further instructions, which Defendant shall
                                                                              follow precisely.
                                                                         16
                                                                                       (3)    As Notified by the United States Marshal, the Defendant shall report to the federal
                                                                         17   institution designated by the Bureau of Prisons on or before December 4, 2006 . If there has
                                                                              been no designation made prior to the surrender date, then the Defendant is to report to the above
                                                                         18   office of the United States Marshal by 12:00 p.m. on the surrender date.
                                                                         19          (4)     Any failure by Defendant to obey all requirements of this order shall be punishable as
                                                                              a contempt.
                                                                         20
                                                                                      FAILURE TO APPEAR as required in this Order constitutes a separate offense, a violation
                                                                         21   of Section 3146 of Title 18, United States Code, and is punishable by additional imprisonment of up
                                                                              to five years.
                                                                         22
                                                                         23   Dated: September 7, 2006
                                                                         24
                                                                                                                                   WILLIAM ALSUP
                                                                         25                                                        UNITED STATES DISTRICT JUDGE
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                                                                         28
